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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

 STARLINDA BRANICK,

                      Plaintiff,                    Case No. 1:21-cv-01384

               v.                                   Hon. Mary M. Rowland

 CURIOSITYSTREAM, INC.,

                      Defendant.

                      NOTICE OF DISMISSAL WITH PREJUDICE

       Pursuant to Fed. R. Civ. P. 41(a)(1)(A), Plaintiff Starlinda Branick hereby voluntarily

dismisses with prejudice her claims against Defendant CuriosityStream, Inc.



 Dated: September 8, 2021                /s/ R. Bruce Carlson
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